     Case 1:06-cr-00017-SPM-AK           Document 120     Filed 07/02/07    Page 1 of 3




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

                            Plaintiff,

v.                                                        CASE NO: 1:06cr17-SPM/AK

TIMOTHY PAUL McKEE, SR.,

                          Defendant.
                                                   /

                          PRELIMINARY ORDER OF FORFEITURE

         THIS CAUSE IS before the Court on the motion of the United States of America

for a Preliminary Order of Forfeiture. Being fully advised in the premises, the Court

finds:

         1.      On May 23, 2006, a Federal Grand Jury sitting in the Northern District of

Florida issued an Indictment against Defendant.

         2.      The Indictment charged Defendant with violations of Title 21, United

States Code, Sections 841 and 846.

         3.      The Indictment included a Forfeiture Count, pursuant to Title 21, United

States Code, Section 853.

         4.      On April 17, 2007, the Defendant entered into a Plea And Cooperation

Agreement in which he agreed to forfeit to the United States of America his interest in

the following:
    Case 1:06-cr-00017-SPM-AK           Document 120        Filed 07/02/07     Page 2 of 3




       A.     REAL PROPERTY LOCATED AT 130 NE 1ST STREET, HIGH SPRINGS,
              FLORIDA 32655, WITH ALL IMPROVEMENTS AND
              APPURTENANCES THEREON, and more particularly described as:

              The North 2/3 OF Lot 1, in Block 12, of the G.E. Foster
              Addition to the city of High Springs, a subdivision, according
              to the plat thereof as recorded in Plat Book “A”, Page 6, of the
              public records of Alachua County, FL; located in Section 03,
              Township 08 South, Range 17 East, Alachua County, FL.

       ORDERED, ADJUDGED and DECREED that based on the foregoing, the

Defendant’s interest in the above property is hereby forfeited to the United States

pursuant to the provisions of Title 21, United States Code, Section 853:

       ORDERED, ADJUDGED and DECREED that in accordance with the law, the United

States shall cause to be published at least once, in a newspaper of general circulation,

notice of this Order, notice of its intent to dispose of the property in such manner as the

Attorney General may direct, and notice that any person, other than the defendant, having

or claiming a legal interest in the aforementioned property must file a petition with the Court

within thirty (30) days of the final publication of the notice or receipt of actual notice,

whichever is earlier. The United States shall:

       1.     State in the notice that the petition shall be for a hearing to adjudicate the

validity of the petitioner's alleged interest in the property, shall be signed by the petitioner

under penalty of perjury, and shall set forth the nature and extent of the petitioner's right,

title and interest in the forfeited property and any additional facts supporting the petitioner's

claim and the relief sought; and

       2.     To the extent practicable, provide direct written notice to any person known

to have an alleged interest in the property that is subject of the Preliminary Order of



                                               -2-
    Case 1:06-cr-00017-SPM-AK          Document 120       Filed 07/02/07     Page 3 of 3




Forfeiture, as a substitute for published notice as to those persons so notified. It is further

       ORDERED, ADJUDGED and DECREED that upon adjudication of all third party

interests, this Court will enter a Final Order in which all interests will be addressed.

       DONE AND ORDERED this 2nd day of July 2007, at Gainesville, Florida.




                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    United States District Judge




                                              -3-
